                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN

In the Matter ofthe Search of                                                         ~         -)

                                                            Case Number:         (‘   1’!   —   icb
Property described as: premises located at W9564
Cloverleaf Road, Hortonville, State and                                                                  U S.
Eastern District of Wisconsin                                                                                    ~

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                       APPLICATION & AFFIDAVIT FOR SEARCH WARRANT I  FiLED
                                                                                                                C~es, Clerk
       I, Brian Judd, a federally deputized U.S. Marshal/ federal law enforcement officer, request a search
warrant and state under penalty of perjury that I have reason to believe that on the following person or
property:

Property described as premises located at W9564 Cloverleaf Road, Hortonville, WI, is more particularly
described as a single story residence with red and cream colored siding and attached garage. There is a gravel
driveway leading to the residence from Cloverleaf Road. (See Attachment A).

located in the Eastern District of Wisconsin there is now concealed: see Attachment B, which constitutes
evidence of receipt, distribution, and possession of child pornography in violation of 18 U.S.C. ‘§ 2252, and
2252A.

       The basis for the search warrant under Fed. R. Crim. P. 4 1(c) is which is:

               ~evidence of a crime;
               (contraband, fruits of a crime, or other items illegally possessed;
               Llproperty designed for use, intended for use, or used in committing a crime;
               U a person to be arrested or a person who is unlawfully restrained.

       The application is based on these facts:

              ~‘Continued on the attached pages, which are ii                  reference.
              U Delayed notice of____ days (give exact ending                   than3O days:         __________      )is
requested under 18 U.S.C. ‘ 3103a, the basis of which is set                        pages.




Sworn to before me, and signed in my presence.

Date ~c~e~\I4~p.2o17

City and state: Green Bay. Wisconsin




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                                      AFFIDAVIT


      I, Brian Judd, having been duly sworn, depose and state as follows:

       1.     I have been a Sworn Law Enforcement officer for 17 years with the

Sheboygan County Sheriff’s Office, and currently hold the rank of Detective. In that

position my primary duty is to conduct Forensic Examination of Computers and Digital

media. I have also been trained in conducting Peer to Peer child exploitation

investigations. I am currently assigned to the Milwaukee Division Child Exploitation

Task Force (CETF) with the Federal Bureau of Investigation (FBI). I am charged with

conducting investigations of violations of federal law including the receipt, possession,

distribution, and production of child pornography. I have gained experience in the

conduct of such investigations through prior investigations, formal training, and in

consultation with other members of the CETF regarding these matters.

      2.      As part of my duties with CETFE, I have received TFO/Special Deputy

United States Marshal designation, authorizing me to investigate violations of laws of

the United States and to execute warrants issued under the authority of the United

States. Thus, I am considered a federal law enforcement officer able to present and

execute federal search warrants.

      2.      I am participating in an investigation of receipt and possession of child

pornography, which is a violation of Title 18, United States Code, Section 2252(a)(2).

This affidavit is based upon my personal knowledge, as well as information reported




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to me by other federal, state, and local law enforcement officers during the course of

their official duties, all of whom I believe to be truthful and reliable. This affidavit is

also based upon information gathered from official records, law enforcement reports,

and my training and experience.

      3.     Based upon the information below, I submit probable cause




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exists to believe a person accessing the Internet at W9564 Cloverleaf Road, Hortonvile,

Wisconsin (“SUBJECT PREMISES”), more particularly described in Attachment A, has

received and is in possession of child pornography, in violation of Title 18, United

States Code, Section 2252(a)(2), and that evidence of this crime, more particularly

described in Attachment B, will be found at that location. In addition to the residence,

this affidavit seeks authority to search the garage associated with W9564 Cloverleaf

Road. This affidavit is intended to only show there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

                                        DEFINITIONS

      4.     The following definitions apply to the Affidavit and Attachment B to this

Affidavit:

       a.    “Cellular telephone” or “cell phone” means a hand held wireless device

             used for voice and data communication through radio signals. These

             telephones send signals through networks of transmitter/receivers,

             enabling communication with other wireless telephones or traditional

             “land line” telephones. A wireless telephone usually contains a “call log,”

             which records the telephone number, date, and time of calls made to and

             from the phone. In addition to enabling voice communications, wireless

             telephones offer a broad range of capabilities. These capabilities include:

              storing names and phone numbers in electronic “address books;” sending,

             receiving, and storing text messages and e-mail; taking, sending,

             receiving, and storing still photographs and moving video; storing and



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      playing back audio files; storing dates, appointments, and other

      information on personal calendars; and accessing and downloading

      information from the Internet. Wireless telephones may include

      geolocation information indicating where the cell phone was at particular

      times.

b.    “Child Erotica” means materials or items that are sexually arousing to

      persons having a sexual interest in minors but are not, in and of

      themselves, legally obscene or do not necessarily depict minors in sexually

      explicit conduct.

c.    “Child Pornography” is defined in 18 U.S.C. § 2256(8) as any visual

      depiction of sexually explicit conduct where (a) the production of the

      visual depiction involved the use of a minor engaged in sexually explicit

      conduct, (b) the visual depiction is a digital image, computer image, or

      computer-generated image that is, or is indistinguishable from, that of a

      minor engaged in sexually explicit conduct, or (c) the visual depiction has

      been created, adapted, or modified to appear that an identifiable minor is

      engaged in sexually explicit conduct.

d.    “Computer” is defined pursuant to 18 U.S.C. § 1030(e)(1) as “an electronic,

      magnetic, optical, electrochemical, or other high speed data processing

      device performing logical or storage functions, and includes any data

      storage facility or communications facility directly related to or operating

      in conjunction with such device.”

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e.    “Computer Server” or “Server,” is a computer attached to a dedicated

      network and serves many users. A web server, for example, is a computer

      which hosts the data associated with a website. That web server receives

      requests from a user and delivers information from the server to the user’s

      computer via the Internet. A domain name system (DNS) server, in

      essence, is a computer on the Internet that routes communications when a

      user types a domain name, such as www.cnn.com, into his or her web

      browser. Essentially, the domain name must be translated into an Internet

      Protocol (IP) address so the computer hosting the web site may be located,

      and the DNS server provides this function.

f.    “Computer hardware” means all equipment which can receive, capture,

      collect, analyze, create, display, convert, store, conceal, or transmit

      electronic, magnetic, or similar computer impulses or data. Computer

      hardware includes any data-processing devices (including, but not limited

      to, central processing units, internal and peripheral storage devices such

      as fixed disks, external hard drives, and other memory storage devices);

      peripheral input/output devices (including, but not limited to, keyboards,

      printers, video display monitors, and related communications devices

      such as cables and connections), as well as any devices, mechanisms, or

      parts used to restrict access to computer hardware (including, but not

      limited to, physical keys and locks).

g.    “Computer software” is digital information which can be interpreted by a

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      computer and any of its related components to direct the way they work.

      Computer software is stored in electronic, magnetic, or other digital form.

      It commonly includes programs to run operating systems, applications,

      and utilities.

h.    “Computer-related documentation” consists of written, recorded, printed,

      or electronically stored material which explains or illustrates how to

      configure or use computer hardware, computer software, or other related

      items.

      “Computer passwords, pass phrases and data security devices” consist of

      information or items designed to restrict access to or hide computer

      software, documentation, or data. Data security devices may consist of

      hardware, software, or other programming code. A password or pass

      phrase (a string of alpha-numeric characters) usually operates as a sort of

      digital key to “unlock” particular data security devices. Data security

      hardware may include encryption devices, chips, and circuit boards. Data

      security software of digital code may include programming code that

      creates “test” keys or “hot” keys which perform certain pre-set security

      functions when touched. Data security software or code may also

      encrypt, compress, hide, or “booby-trap” protected data to make it

      inaccessible or unusable, as well as reverse the progress to restore it.

j.    “Electronic storage devices” includes computers, cellular telephones,

      tablets, and devices designed specifically to store electronic information

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     (e.g., external hard drives and USB “thumb drives”). Many of these

     devices also permit users to communicate electronic information through

     the Internet or through the cellular telephone network (e.g., computers,

     cellular telephones, and tablet devices such as an iPad).

k.   “Hash Value” refers to the process of using a mathematical function, often

     called an algorithm, to generate a numerical identifier for data. A hash

     value can be thought of as a “digital fingerprint” for data. If the data is

     changed, even slightly (like the addition or deletion of a comma or a

     period), the hash value changes. Therefore, if a file such as a digital photo

     is a hash value match to a known file, it means the digital photo is an exact

     copy of the known file.

     The “Internet” is a global network of computers and other electronic

     devices that communicate with each other. Due to the structure of the

     Internet, connections between devices on the Internet often cross state and

     international borders, even when the devices communicating with each

     other are in the same state.

m.   “Internet Service Providers” (ISPs) are commercial organizations in

     business to provide individuals and businesses access to the Internet. ISPs

     provide a range of functions for their customers including access to the

     Internet, web hosting, e-mail, remote storage, and co-location of

     computers and other communications equipment. ISPs can offer a range

     of options in providing access to the Internet including telephone based

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      dial-up, broadband based access via digital subscriber line (DSL) or cable

      television, dedicated circuits, or satellite based subscription. ISPs typically

      charge a fee based upon the type of connection and volume of data, called

      bandwidth, which the connection supports. Many ISPs assign each

      subscriber an account name    —   a user name or screen name, an “e-mail

      address,” an e-mail mailbox, and a personal password selected by the

      subscriber. By using a computer equipped with a modem, the subscriber

      can establish communication with an ISP over a telephone line, through a

      cable system or via satellite, and can access the Internet by using his or her

      account name and personal password.

n.    “An Internet Protocol address” (IP address) is a unique numeric address

      used by internet-enabled electronic storage devices to access the Internet.

      An IP address is a series of four numbers, each in the range 0-255,

      separated by periods (e.g., 121.56.97.178). Every electronic storage device

      attached to the Internet must be assigned an IF address so that Internet

      traffic sent from and directed to the electronic storage device may be

      directed properly from its source to its destination. Most ISPs control a

      range of IF addresses. Some computers have static     —    that is, long-term    —




      IF addresses, while other computers have dynamic       —   that is, frequently

      changed   —   IP addresses.

o.    “Media Access Control” (MAC) address means a hardware identification

      number which uniquely identifies each device on a network. The

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     equipment connecting a computer to a network is commonly referred to

     as a network adapter. Most network adapters have a MAC address

     assigned by the manufacturer of the adapter. This MAC address is

     designed to be a unique identifying number. A unique MAC address

     allows for proper routing of communications on a network. Because the

     MAC address does not change and is intended to be unique, a MAC

     address can allow law enforcement to identify whether communications

     sent or received at different times are associated with the same adapter.

p.   “Minor” means any person under the age of eighteen years. See 18 U.S.C.

     § 2256(1).

q.   The terms “records,” “documents,” and “materials” include all

     information recorded in any form, visual or aural, and by any means,

     whether in handmade form (including writings and drawings),

     photographic form (including prints, negatives, videotapes, motion

     pictures, and photocopies), mechanical form (including printing and

     typing) or electrical, electronic or magnetic form (including tape

     recordings, compact discs, electronic or magnetic storage devices such as

     hard disks, CD-ROMs, digital video disks (DVDs), Personal Digital

     Assistants (PDAs), Multi Media Cards (MMCs), memory sticks, smart

     cards, or electronic notebooks, as well as digital data files and printouts or

     readouts from any magnetic, electrical or electronic storage device).

r.   “Sexually explicit conduct” means actual or simulated (a) sexual

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            intercourse, including genital-genital, oral-genital, or oral-anal, whether

            between persons of the same or opposite sex; (b) bestiality; (c)

            masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition

            of the genitals or pubic area of any person. See 18 U.S.C. § 2256(2).

     s.     “URL” is an abbreviation for Uniform Resource Locator and is another

            name for a web address. URLs are made of letters, numbers, and other

            symbols in a standard form. People use URLs on computers by clicking a

            pre-prepared link or typing or copying and pasting one into a web

            browser to make the computer fetch and show some specific resource

            (usually a web page) from another computer (web server) on the Internet.

     t.     “Visual depictions” include undeveloped film and videotape, and data

            stored on computer disk or by electronic means, which is capable of

            conversion into a visual image. See 18 U.S.C. § 2256(5).

          ELECTRONIC STORAGE DEVICES AND FORENSIC ANALYSIS

     5.     I consulted with law enforcement officers with specialized knowledge and

training in computers, networks, and Internet communications. In particular, I

consulted with FBI SA Matthew Petersen, who has received specialized training as a

forensic computer, cellular telephone, and other electronic storage device examiner.

SA Petersen has been a forensic computer examiner with the FBI since 1999. SA

Petersen has participated in the execution of numerous search warrants and search and

seizure operations. SA Petersen has informed me to properly retrieve and analyze

electronically stored (computer) data, and to insure accuracy and completeness of such

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data and to prevent loss of the data either from accidental or programmed destruction,

it is necessary to conduct a forensic examination of the electronic storage devices. To

affect such accuracy and completeness, it may also be necessary to analyze not only the

electronic storage devices, but also peripheral devices which may be interdependent,

the software to operate them, and related instruction manuals containing directions

concerning operation of the device computer and software. As described above and in

Attachment B, this application seeks permission to search and seize records that might

be found on the proposed search location, in whatever form they are found. One form

in which the records might be found is stored on a computer’s hard drive, other

storage media, or within a hand-held electronic device such as a cellular telephone or a

tablet device (e.g., an iPad device). Some of this electronic information, as explained

below, might take a meaningful form only upon forensic analysis.

      6.     Based on my knowledge, training, and experience, and after having

consulted with SA Petersen, I know computer and other electronic device hardware,

peripheral devices, software, electronic files, and passwords may be important to a

criminal investigation in three distinct and important respects:

      a.     The objects themselves may be instrumentalities used to commit the

             crime;

      b.     the objects may have been used to collect and store information about

             crimes (in the form of electronic data); or

      c.     the objects may be contraband or fruits of the crime.

      7.     I submit if a computer or other electronic storage device is found on the

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premises, there is probable cause to believe information will be saved to that electronic

storage device, for the following reasons:

      a.     Based on my knowledge, training, and experience, I know electronic

             storage device files or remnants of such files can be recovered months or

             even years after they have been downloaded onto a storage medium,

             deleted, or viewed via the Internet. Electronic files downloaded to a

             storage medium can be stored for years at little or no cost. Even when

             files have been deleted, they can be recovered months or years later using

             forensic tools. When a person deletes a file on an electronic storage

             device, the data contained in the file does not actually disappear; rather,

             the data remains on the storage medium until it is overwritten by new

             data. Deleted files, or remnants of deleted files, may reside in free space

             or slack spaceCthat is, in space on the storage medium that is not currently

             being used by an active filecfor long periods of time before they are

             overwritten. In addition, if the electronic storage device uses an operating

             system (in the case, for example, of a computer, cellular telephone or

             tablet device) the device may also contain a record of deleted data in a

             swap or recovery file.

      b.     Wholly apart from user-generated files, electronic storage device storage

             media in particular, computers internal hard drives contain electronic

             evidence of how the device was used, what it has been used for, and who

             has used it. This evidence can take the form of operating system

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              configurations, artifacts from operating system or application operation,

              and file system data structures. Electronic storage device users typically

              do not erase or delete this evidence, because special software is typically

              required for that task. However, it is technically possible to delete this

              information.

      c.      Files viewed via the Internet are sometimes automatically downloaded

              into a temporary Internet directory or cache. The browser often maintains

              a fixed amount of hard drive space devoted to these files, and the files are

              only overwritten as they are replaced with more recently viewed Internet

              pages or if a user takes steps to delete them.

      8.      As further described in Attachment B, this application seeks permission to

locate not only electronic storage device files that might serve as direct evidence of the

crimes described on the warrant, but also for evidence establishing how electronic

storage devices were used, the purpose of their use, who used them, and when.

      9.      Although some of the records called for by this warrant might be found in

the form of user-generated documents (such as word processor, picture, and movie

files), electronic storage device storage media can contain other forms of electronic

evidence as described below:

           a. Data on the storage medium not currently associated with any file can

              provide evidence of a file once on the storage medium but has since been

              deleted or edited, or of a deleted portion of a file (such as a paragraph that

              has been deleted from a word processing file). Web browsers, e-mail

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     programs, and chat programs store configuration information on the

     storage medium that can reveal information such as online nicknames and

     passwords. Operating systems can record additional information, such as

     the attachment of peripherals, the attachment of USB flash storage devices

     or other external storage media, and the times the electronic storage

     device was in use. Electronic storage device file systems can record

     information about the dates files were created and the sequence in which

     they were created.

  b. As explained herein, information stored within an electronic storage

     device and other electronic storage media may provide crucial evidence of

     the “who, what, why, when, where, and how” of the criminal conduct

     under investigation, thus enabling the United States to establish and

     prove each element or alternatively, to exclude the innocent from further

     suspicion. In my training and experience, information stored within an

     electronic storage device (e.g., registry information, communications,

     images and movies, transactional information, records of session times

     and durations, Internet history, and anti-virus, spyware, and maiware

     detection programs) can indicate who has used or controlled the electronic

     storage device. This “user attribution” evidence is analogous to the search

     for “indicia of occupancy” while executing a search warrant at a

     residence. The existence or absence of anti-virus, spyware, and malware

     detection programs may indicate whether the electronic storage device

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     was remotely accessed, thus inculpating or exculpating the electronic

     storage device owner. Further, electronic storage device activity can

     indicate how and when the electronic storage device was accessed or

     used. For example, as described herein, computers typically contain

     information that logs: computer user account session times and durations,

     computer activity associated with user accounts, electronic storage media

     that connected with the computer, and the IP addresses through which

     the computer accessed networks and the Internet. Such information

     allows investigators to understand the chronological context of computer

     or electronic storage media access, use, and events relating to the crime

     under investigation. Additionally, some information stored within an

     electronic storage device may provide crucial evidence relating to the

     physical location of other evidence and the suspect. For example, images

     stored on a computer or cellular telephone may show a particular location

     and have geolocation information incorporated into its file data. Such file

     data typically contains information indicating when the file or image was

     created. The existence of such image files, along with external device

     connection logs, may also indicate the presence of additional electronic

     storage media (e.g., a digital camera). The geographic and timeline

     information described herein may either inculpate or exculpate the

     electronic storage device user. Last, information stored within an

     electronic storage device may provide relevant insight into the device

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     user’s state of mind as it relates to the offense under investigation. For

     example, information within the electronic storage device may indicate

     the owner’s motive and intent to commit a crime (e.g., Internet searches

     indicating criminal planning), or consciousness of guilt (e.g., running a

     “wiping” program to destroy evidence on the electronic storage device or

     password protecting/encrypting such evidence in an effort to conceal it

     from law enforcement).

  c. The process of identifying the exact files, blocks, registry entries, logs, or

     other forms of forensic evidence on a storage medium that are necessary

     to draw an accurate conclusion is a dynamic process. Whether data stored

     on an electronic storage device is relevant to the investigation may depend

     on other information stored on the electronic storage device and the

     application of knowledge about how an electronic storage device works.

     Therefore, contextual information necessary to understand the evidence

     described in Attachment B also falls within the scope of the warrant.

  d. Further, in finding evidence of how an electronic storage device was used,

     the purpose of its use, who used it, and when, sometimes it is necessary to

     establish that a particular thing is not present on a storage medium. For

     example, I know from training and experience it is possible malicious

     software can be installed on a computer, often without the computer

     user’s knowledge, which can allow the computer to be used by others,

     sometimes without the knowledge of the computer owner.

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      10.   Based upon my knowledge, training and experience, and after having

consulted with SA Matthew Petersen, I know a thorough search for information stored

in storage media often requires agents to seize most or all storage media to be searched

later in a controlled environment. This is often necessary to ensure the accuracy and

completeness of data recorded on the storage media, and to prevent the loss of the data

either from accidental or intentional destruction. Additionally, to properly examine

the storage media in a controlled environment, it is often necessary that some

electronic storage device equipment, peripherals, instructions, and software be seized

and examined in the controlled environment. This is true because of the following:

      a.    The nature of evidence. As noted above, not all evidence takes the form of

            documents and files easily viewed on site. Analyzing evidence of how an

            electronic storage device has been used, what it has been used for, and

            who has used it requires considerable time, and taking that much time on

            premises could be unreasonable.

     b.     The volume of evidence. Storage media can store the equivalent of

            millions of pages of information. Additionally, a suspect may try to

            conceal criminal evidence; he or she might store it in random order with

            deceptive file names. This may require searching authorities to peruse all

            the stored data to determine which particular files are evidence or

            instrumentalities of crime. This sorting process can take weeks or months,

            depending on the volume of data stored, and it would be impractical and

            invasive to attempt this kind of data search on-site.

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      c.     Technical requirements. Electronic storage devices can be configured in

             several different ways, featuring a variety of different operating systems,

             application software, and configurations. Therefore, searching them

             sometimes requires tools or knowledge that might not be present on the

             search site. The vast array of electronic storage device hardware and

             software available makes it difficult to know before a search what tools or

             knowledge will be required to analyze the system and its data on-site.

             However, taking the storage media off-site and reviewing it in a

             controlled environment will allow its examination with the proper tools

             and knowledge.

      d.     Variety of forms of electronic media. Records sought under this warrant

             could be stored in a variety of storage media formats that may require off-

             site reviewing with specialized forensic tools.

      11.    In light of these concerns, I hereby request permission to seize the

electronic storage devices, associated storage media, and associated peripherals

believed to contain some or all of the evidence described in the warrant, and to conduct

an off-site search of the hardware for the evidence described, if, upon arriving at the

scene, the agents executing the search conclude it would be impractical to search the

hardware, media, or peripherals on-site for this evidence.

      12.    I know when an individual uses a computer to commit crimes involving

child pornography, the individual’s computer will generally serve both as an

instrumentality for committing the crime, and also as a storage medium for evidence of

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the crime. The electronic storage device is an instrumentality of the crime because it is

used as a means of committing the criminal offense. From my training and experience,

I believe an electronic storage device used to commit a crime of this type may contain:

evidence of how the electronic storage device was used; data sent or received; notes as

to how the criminal conduct was achieved; records of Internet discussions about the

crime; and other records that indicate the nature of the offense.


                          DETAILS OF THE INVESTIGATION

      13.     On August 8, 2017, I, FBI Task Force Officer (TFO) Brian Judd, was informed

that TFO Christina Porter was assigned a lead received from FBI Headquarters. TFO Porter and

I reviewed the information provided in the lead which included a Cybertip from the National

Center for Missing and Exploited Children (NCMEC), a FBI Tactical Targeting Package, and a

CD which contained child pornographic images. NCMEC operates the Cyber Tipline and Child

Victim Identification Program and they make this information available to law enforcement.

NCMEC also works with Electronic Service Providers (ESP), law enforcement and the public to

reduce online sexual abuse images.

      14.     TFO Porter began the investigation by reviewing the Cybertip which

stated the submitter of the complaint is Dropbox, Inc. from 185 Berry Street, Suite

400 in San Francisco, CA. The incident type is listed as child pornography and the

incident date and time are 01/12/17 at 06:45:36UTC. The account that Dropbox, Inc.

was reporting had the following subscriber information:

      Email address: ajdolata~gmai1.com
      Screen/User name: Banana Cow
      ESP User ID: 550358587
      IP Address: 206.8.80.66 (Login); 11/05/16 at 11:13:OOUTC
      IP Address: 206.8.80.65 (Login); 11/05/16 at 11:13:31UTC
                                              17

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      IP Address: 206.176.207.197 (Login); 11/13/16 at 01:15: 17UTC
      IP Address: 206.8.80.66 (Login); 12/03/16 at 11:07:1OUTC

      15.     The Cybertip stated that the above listed Dropbox account had uploaded

134 images of suspected child pornography. The Cybertip listed some of the

suspected files which were reviewed by Dropbox, Inc. and were publicly available.

They provided the following filenames:

      c3 OfeO8c-d7cb-4a00-8e92-f9f88bdOb8bO.mp4
      e983 7acd-9b66-4068-al 1 0-449a4ae7578b.mp4
      Untitled 3.02.bmp
      CatGoddess (249).jpg
      Untitled 3.6.bmp
      Untitled 3.7.bmp
      CatGoddess (21 5).jpg

      16.     NCMEC conducted a geo-lookup for the IP addresses utilized by this

account. The IP address of 206.176.207.197 came back to Schofield, WI with an

Internet Service Provider (ISP) of Solarus. The IP address of 206.8.80.66 came back

to Weyauwega, WI with an ISP of Onvoy. The IP address of 206.8.80.65 came back

to Hortonville, WI with an ISP of Onvoy.

      17.     Per the Cybertip, the NCMEC date from when this complaint was

processed was on 02/28/17 at 15:42:44UTC. NCMEC noted that the uploaded files

were reviewed and the images appear to be apparent child pornography. An exact law

enforcement jurisdiction was undetermined by NCMEC, so the Cybertip was

forwarded to the FBI for further investigation.

      18.     Per the lead, on 04/11/17, MAPA Colleen O’Connor from FBI

Headquarters in Alexandria, Virginia, issued an administrative subpoena and non

disclosure order to Dropbox, Inc. in regards to obtaining information pertaining to the

email address of ajdolata@gmail.com; ScreenfUser Name: Banana Cow; ESP User ID

                                                  18

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550358587. On 05/01/17 Dropbox provided the following requested information

regarding the account:

      Name: Banana Cow
      Email: aj dolata~gmai1.coom
      User ID: 550358587
      Joined: Tue, 20 Mar 2016 17:53:24 GMT
      Subscription Status: Free
      Authentication History:
      Timestamp (GMT)                                IP
      Sat, 05 Nov 2016 23:13:00 GMT                  206.8.80.66
      Sat, 05 Nov2016 23:13:31 GMT                   206.8.80.65
      Sun, 13 Nov2016 01:15:17 GMT                   206.176.207.197
      Sat, 03 Dec2016 11:07:10 GMT                   206.8.80.66
      Mobile Device Information:
      Timestamp (GMT)                    Model              Carrier
      Sat, 05 Nov 2016 23:13:36 GMT            LG-K373              cricket
      Tue, 10 Jan 2017 00:55:34 GMT            LG-K373              cricket

      19.     On 03/02/17, MAPA Colleen O’Connor served an administrative

subpoena and non-disclosure order to Google in order to obtain information pertaining

to the email account ajdolata~gmail.com. On 03/24/17, Google provided the

following requested information regarding the account:

      Name: AJ Dolata
       e-Mail: AJDolata~gmai1.com
       Services: Android, Chrome Web Store, Gmail, Google Calendar, Google
Chrome Sync, Google Developers Console, Google Docs, Google Drive, Google
Hangouts, Google Maps, Google Maps Engine, Google My Maps, Google Payments,
Google Photos, Google Play Music, Google Sites, Google Voice, Google+, Has
Google Profile, Has Plusone, Location History, Lock SafeSearch, Onetoday, Tasks In
Tingle, Web & App Activity, YouTube, iGoogle
      Recovery e-Mail: forgeg~gmail.com
       Created on: 2012/04/11-23:47:3 9-UTC
      Terms of Service IP: 198.150.183.44, on 2012/04/11-23 :47:39-UTC
       SMS: +19208105522
       Google Account ID: 458621787398
       Sample of the IP History: 24.197.229.34 on 2017/01/01-02:02:03-UTC
(MaxMind=Charter Communications)
       65.25.223.30 on 2017/01/09-19:02:3 8-UTC (MaxMind~=Time Warner Cable)




                                             19

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      20.    On 03/27/17, MAPA Colleen O’Connor served an administrative

subpoena to Charter Communications to obtain information regarding the IP address

24.197.229.34 on 2017/01/01 at 02:02:03-UTC. On 05/05/17 Charter

Communications responded with the following requested information:

      Target Details: 24.197.229.34, 1/1/20 17 2:02:00 AM, GMT
      Subscriber Name: Country Inn and Suites
      Subscriber Address: 301 Division St. N, Stevens Point, WI 54481-1154
      Service Type: RR HSD Activate Date: 6/4/2002 Deactivate Date: 3/9/20 17
      User Name or Features: jbiad@charter.net, becky@charterintemet.com
      Phone number: (715) 345-7000, (715)343-6140, (715) 343-8609, (715)345-
7008, (715) 343-6146, (715) 343-6145, (715) 343-6144, (715) 343-6143, (715) 343-
6142, (715) 343-6141
      Other Details
      Other Information: IP address is static.

      On 03/28/17 MAPA Colleen O’Connor served an administrative subpoena to

Time Warner Cable to obtain information regarding the IP address 65 .25.223.30 on

2017/01/09-19:02:38-UTC. On 04/03/17, Time Warner Cable provided the following

requested information:

      Target Details: 65.25.223.30, 1/9/2017 7:02:00 PM, GMT

      Subscriber Name: Midwest Labor
      Subscriber Address: 3019 W. Spencer St., Ste 102, Apt. 102, Appleton, WI
54914-5946
      Service Type: RR HSD Activate Date: 8/29/2014 Deactivate Date: Still active
     User Name or Features: rmanske~edgewood.edu
      Phone Number: (920) 364-9454, (920) 609-2526

      On 03/27/17, MAPA Colleen O’Connor served an administrative subpoena to

AT&T regarding SMS 920-810-5522 (this number was obtained from the Google

subpoena results for email ajdolata~gmail.com). On 03/27/1 7, AT&T provided the

following information regarding the request:


      Financially Liable Party

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      Name: Teresa Dolata
      Credit Address: W9564 Cloverleaf Rd, Hortonville, WI 54944
      Activation Date: 05/2 1/2016
      Billing Party
      Account number: 737570307
      Name: Teresa Dolata
      Billing Address: W9564 Cloverleaf Rd, Hortonville, WI 54944
      Account Status: Open Billing Cycle: 21
      User Information:
      MSISDN: (920) 810-5522
      IMSI: 310150819539948
      MSISDN Active: 08/28/2016-Current
      MSISDN Status: Active

      21.     TFO Porter advised she then reviewed the Tactical Targeting Package

which was included with the lead. The report states that through the analysis of

records, obtained through appropriate legal process, the FBI assesses that Anthony

James Dolata IV, residing at W9564 Cloverleaf Rd, Hortonville, WI (Outagamie

County) is very likely to be involved in the transmission and/or possession of child

pornography. The report states that per NCMEC, there are 90 images and 43 videos

depicting child pornography which were uploaded to the Dropbox account created by

email address ajdolata~gmai1.com with screenluser name Banana Cow.

      22.     Per TFO Porter, the report provides additional information regarding

Anthony James Dolata IV. MAPA Colleen O’Connor conducted a Facebook inquiry

for Anthony Dolata in Wisconsin and found the possible account URL of

https ://www.facebook.com!profile.php?id=100007087412822. The profile name is

AJ Dolata and the Facebook page shows that he resides in Hortonville, Wisconsin and

that he is from Hortonville, Wisconsin. MAPA O’Connor noted that this Facebook

account has not been updated since 07/17/14. TFO Porter accessed this Facebook




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page on 08/08/17 and the account still had not been updated. There was limited

information provided on the profile and no photos of people.

      23.     MAPA O’Connor conducted an Accurint search on the address of

W9564 Cloverleaf Rd., Hortonville, WI and located the resident Anthony James

Dolata IV, 11/01/96, SSN of XXX-XX-XXXX and the dates at this address are from

October of 2013 through May of 2017. MAPA O’Connor conducted a NCIC check

on Anthony and it was determined that he has no criminal history.

      24.     MAPA O’Connor also requested the images and videos in the Cybertip

be reviewed by NCMEC through the Child Victim Identification Program (CVIP) to

determine if there are any known victims. A NCMEC analyst reviewed the files and

provided these results in Child Identification Report #107357. This report indicates

that 79 victims were identified in images and 10 victims were identified in videos.

      25.     On August 9, 2017 TFO Porter advised she reviewed the images and

videos which were provided with the lead from the Dropbox account in question.

There were 43 video files and 90 still image files, for a total of 133 files. TFO Porter

provided the following as a sample of some of the child pornographic images and

videos that she reviewed:

      File 0d7da528-elb8-4dbc-8807-650800af72fl This is a 14 second video of a
nude, white female with dark hair. The female is standing and rubs her breast area
with her hand and then rubs her vaginal area with her hand while the camera focuses
on her vagina. The female has a small amount of breast development and appears to
be between the ages of 10 and 13.

      File 3fl2a8e4-a047-4082-acal-b41488cbd860 This is a two minute and two
second video of a young, prepubescent white female who is wearing what appears to
be pink underwear. The video is a close up of the child’s vagina while her legs are
spread apart. An adult’s hand is rubbing the girl’s vaginal area while pulling her
underwear aside. Later in the video the adult hand pulls open the girl’s vaginal area to
expose her even more before the hand continues to rub the area. Based on the size of

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the girl in comparison to the size of the adult hand, the girl appears to be between the
ages of one and two years old.

       File 8b77170a-aaO9-4827-9658-ab8549320d83 This is a one minute and 23
second video of a nude, prepubescent white female who is laying on her back and an
adult white male is inserting his nude, erect penis into her vagina. The male removes
his penis and rubs it. Based on the size of female in comparison to the male, the
female appears to be approximately three to five years old.

        File CatGoddess (50).jpg This is a still image of a nude, white, prepubescent
female who is laying on her back with her legs apart and up in the air, exposing her
vaginal area. The female has long, brown hair and is smiling. She lacks muscle
development and breast development. She lacks pubic hair. The female appears to be
between the approximate ages of nine and eleven years old. There are several images
of this female in various poses.

      File CatGoddess (79).jpg This is a still image of the same female from file
CatGoddess (50).jpg. The female is laying on her back and is nude. Her legs are
spread apart, exposing her vaginal area. She is holding a hair dryer in her right hand.
Again, the female appears to be between the ages of nine and eleven years old.

       File Untitled2.bmp This is a still image of a nude, white, prepubescent female
with dark blonde hair. The female is laying on top of an adult, nude male who has an
erect penis. The female is holding the base of the male’s penis with her right hand and
her mouth is around the tip of the penis. The female lacks muscle development and
appears to be between the ages of seven and ten years old.

      26.     Based on her training and experience, TFO Porter believes all of the

images and videos provided with the Cybertip are of child pornography.

      27.     “Dropbox” refers to an online storage medium on the internet accessed

from a computer or electronic storage device. As an example, online storage mediums

such as Dropbox make it possible for the user to have access to saved files without the

requirement of storing said files on their own computer or other electronic storage

device. Dropbox is an “offsite” storage medium for data viewed at any time from any

device capable of accessing the internet. Users can store their files on Dropbox and

avoid having the files appear on their computer. Anyone searching an individual’s

computer that utilizes Dropbox would not be able to view these files if the user opted

                                                23

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only to store them at an offsite such as Dropbox. These are often viewed as

advantageous for collectors of child pornography in that they can enjoy an added level

of anonymity and security.

      28.     Special Agent Gerald Mullen and TFO Porter applied for a search

warrant to Dropbox to obtain all the content of the account, in addition to a search

warrant to Google for all of the content within the email account of

aido1ata(~gmail.com, which was used to create the Dropbox account in question. On

September 18, 2017, the search warrants were served to Dropbox and Google.

      29.     On September 28, 2017, TFO Porter received the Google search warrant

results. Per the results, between the dates of March 27, 2017 and September 11, 2017

the following IP addresses were utilized to access the account on a regular bases:

      206.8.80.69
      206.8.80.66
      206.8.80.65
      206.8.80.67

      TFO Porter used the website whois.arin.net and determined that Onvoy was the

company assigned to these IP addresses. TFO Porter conducted a search on the

Internet for Onvoy and determined that it is a business that offers VoIP services to

small businesses, and enterprise solutions such as call centers and services for carriers.

The IP address of 206.8.80.65 was also used to log into the Dropbox account in

question on November 5, 2015. The IP address of 206.8.80.66 was used to log into

the Dropbox account on November 5, 2016 and on December 3, 2016.

      30.     Within the Google search warrant results, TFO Porter located various

images which indicate that the email account of ajdolata(~gmai1.com was operated by

Anthony J. Dolata IV. For example, TFO Porter located an image of a screen shot

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from a Cricket phone which listed Anthony Dolata as the owner of the phone. There

were also images of homework with the name of A.J. Dolata on it. Some of the

homework was dated from February of 2015, indicating that Anthony was in high

school at that time. Anthony’s high school senior pictures were located, along with a

resume which had Anthony’s name and address on it.

      31.     TFO Porter also located numerous images of anime pornography which

were cartoon-like images of creatures with animal heads and human bodies. TFO

Porter observed a few videos within the account which appear to be of Anthony

masturbating. The majority of the actual emails received in the account were of spam

or advertisements.

      32.     On October 2, 2017, TFO Porter received the Dropbox search warrant

results. Included with these results was an excel spreadsheet which included the dates

and times account activity took place. The majority of the dates when the account

was accessed was in November and December of 2016 and January of 2017. This

date range is consistent with the information provided in the Cybertip.

      33.     TFO Porter observed four folders created within the Dropbox account.

The folders were labeled, “Det,” “littles taking d,” “stuff’ and “young vids 12.” All of

these folders contained only adult or child pornography. There were approximately

17 videos of child pornography located in the “Det” folder. An example is:

      File 0798dd11-81c9-4024-9054-b3f5236a3d5f: This is a one minute 30 second
video of a girl performing oral (mouth to penis) sex on an adult male. The girl is
wearing a plaid shirt and the male is holding her hair back. The girl gagged on the
man’s penis and the man ejaculated inside of the girl’s mouth. The girl then spit out
the semen from her mouth. The girl continued to perform oral sex on the man and he
again ejaculated inside her mouth. The girl in the video appears to be between the
approximate ages of five to eight years of age.



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      34.      In the “liffles taking d” folder, TFO Porter observed 23 videos and six

of the videos were of child pornography.

      35.      In the “stuff” folder, TFO Porter observed 142 images/videos.

Approximately 124 images/videos were of child pornography. There were 98 images

from the same series whereby all the images were titled CatGoddess followed by a

different number in parenthesis. The same female is in all of the images in various

poses. For example:

        File CatGoddess (56): This is a still image of a nude white female who is
sitting down with her legs apart and her knees are bent, exposing her vaginal area.
The girl is prepubescent and lacks muscle development. She appears to be between
the approximate ages of 8 and 12 years old.

      36.      In the “young vids 12” folder, TFO Porter observed 24 images/videos,

all of which were child pornography. For example:

        File 3fl2a8e4-a047-4082-acal-b41488cbd860: This is a two minute and two
second video of an adult digitally rubbing and penetrating a baby’s vagina. The video
is a close up of the girl’s vagina and then the adult opens the vagina to expose it
further. Based on the size of the girl next to the adult hand, she appears to be an
infant.

      In total, there were about 171 images/videos of child pornography in the

Dropbox account, which included the images and videos provided in the Cybertip.

      37. TFO Porter and I are aware that Dropbox can be accessed from any

            electronic device that can access the Internet. If a specific Dropbox account

            is accessed on a device, remnants of that activity can be located on the

            device. I am aware that there is information on the electronic device, such

            as a computer or cellular phone that could show a link between the device

            and the accessed Dropbox account. More specifically, file paths may be

            located, indicating that the device connected to the Dropbox account, could

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            be located on the device utilized. Additionally, the device would have the

            Dropbox application downloaded onto it, and there would potentially be an

            icon on the device for Dropbox. If video files are located within a Dropbox

            account, the video player(s) needed to open such files would also be located

            on the electronic device in order to play the video file. Examples of video

            players are VLC or Windows Media Player. The Internet history would

            contain information regarding when a specific file was searched for and

            downloaded. I am also aware that when a forensic examination of a cell

            phone is performed, the software used to provide the examination could

            provide the file path of specific files’ current or previous location which

            may include Drop Box.

      38.

       On September 18, 2017, ground surveillance was conducted on the

residence at W9564 Cloverleaf Rd. and Anthony Dolata was observed leaving

the residence with his father. The surveillance team followed Anthony and his

father to Children’s Hospital where it appeared that Anthony had a therapy

appointment. TFO Porter was advised by FBI Analyst Hannah Loken that she

conducted an open source Internet check on the members of the Dolata family

and located a Go Fund Me page for Anthony. The Go Fund Me page indicated

that Anthony had fallen on March 23, 2017 and suffered from a brain injury,

which was likely why Anthony was getting therapy at the hospital.




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      39.     On September 14, 2017, aerial surveillance was conducted at the

residence and photos of the residence were taken since the residence has a lengthy

driveway and cannot be seen well from the public street.

                 BACKGROUND ON ELECTRONIC STORAGE DEVICES
                        AND CHILD PORNOGRAPHY

      40.     Computers, cellular telephones, and other electronic storage devices

(collectively electronic storage devices) have dramatically changed the way in which

individuals interested in child pornography interact with each other. Electronic

storage devices basically serve four functions in connection with child pornography:

production, communication, distribution, and storage.

      41.     Child pornographers can now transfer printed photographs into a

computer-readable format with a device known as a scanner. Furthermore, with the

advent of digital cameras, when the photograph is taken it is saved as a digital file that

can be directly transferred to a device by simply connecting the camera to the

electronic storage device. In the last ten years, the resolution of pictures taken by

digital cameras has increased dramatically, meaning the photos taken with digital

cameras have become sharper and crisper. Photos taken on a digital camera are stored

on a removable memory card in the camera. These memory cards often store up to 32

gigabytes of data, which provides enough space to store thousands of high-resolution

photographs. Video recorders, which once recorded video onto tapes or n,ini-CDs,

now can save video footage in a digital format directly to a hard drive in the camera.

The video files can be easily transferred from the video recorder to a computer. Many



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electronic storage devices (e.g., computers, cellular telephones, and tablets), have

cameras built into the device which allows users to create and store still and video

images on the device. Moreover, if the device has Internet connectivity, users can

distribute still and video images from the device.

      42.    Internet-enabled electronic storage devices can connect to other Internet-

enabled devices. The ability to produce child pornography easily, reproduce it

inexpensively, and market it anonymously (through electronic communications) has

drastically changed the method of distribution and receipt of child pornography.

Child pornography can be transferred via e-mail or through file transfer protocols

(FTPs) to anyone with access to an Internet-enabled electronic storage device. Because

of the proliferation of commercial services that provide e-mail service, chat services

(i.e., “Instant Messaging”), and easy access to the Internet, electronic storage devices

are the preferred method of distribution and receipt of child pornographic materials.

      43.    Electronic storage devices are the ideal repository for child pornography.

The amount of information an electronic storage device can hold has grown

exponentially over the last decade. Electronic storage devices can store thousands of

images at very high resolution. In addition, there are numerous options available for

the storage of computer or digital files. One-terabyte external and internal hard drives

are not uncommon. Other media storage devices include CDs, DVDs, and “thumb,”

“jump,” or “flash” drives, which are very small devices which are plugged into a port

on a computer or other electronic storage device. It is extremely easy for an individual

to take a photo with a digital camera, upload that photo to a computer, and then copy

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it (or any other files on the computer) to any one of those media storage devices (CDs

and DVDs are unique in that special software must be used to save or “burn” files onto

them). Many electronic storage devices can easily be concealed and carried on an

individual’s person.

      44.    The Internet affords individuals several different venues for obtaining,

viewing, and trading child pornography in a relatively secure and anonymous fashion.

      45.    Individuals also use online resources to retrieve and store child

pornography, including services offered by Internet Portals such as Yahoo! and

Hotmail, among others. The online services allow a user to set up an account with a

remote computing service that provides e-mail services as well as electronic storage of

computer files in any variety of formats. A user can set up an online storage account

from any internet-enabled electronic storage device.    Even in cases where online

storage is used, however, evidence of child pornography can be found on the user’s

electronic storage device in most cases.

      46.    As is the case with most digital technology, communications by way of

electronic storage device can be saved or stored on the device. Storing this information

can be intentional, i.e., by saving an e-mail as a file on the computer or saving the

location of one’s favorite websites in, for example, “bookmarked” files. Digital

information can also be retained unintentionally, e.g., traces of the path of an electronic

communication may be automatically stored in many places (e.g., temporary files or

ISP client software, among others). In addition to electronic communications, an

electronic storage device user’s Internet activities generally leave traces or “footprints”

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in the web cache and history files of the browser used. Such information is often

maintained indefinitely until overwritten by other data.

      47.    Based on my knowledge, training, and experience, I know electronic files

or remnants of such files can be recovered months or even years after they have been

downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic

files downloaded to a storage medium can be stored for years at little or no cost. Even

when files have been deleted, they can be recovered months or years later using

forensic tools. This is so because when a person “deletes” a file on a device, the data

contained in the file does not actually disappear; rather, that data remains on the

storage medium until it is overwritten by new data. Therefore, I believe the

images/videos described in paragraphs 39, 40, 41, and 42 above are still located in and

can be retrieved from the electronic storage devices at the SUBJECT PREMISES.




                                       CONCLUSION

                                           31

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     48.    Based on the above, I submit that this affidavit supports probable cause

for a warrant to search the premises described in Attachment A and seize the items

described in Attachment B.

      Dated this   /   ~ day of October 2017.


                                         BRIAN J. JUDD, Task Force Officer
                                         Federal Bureau of Investigation


      Sworn to before me thisj~ day o           ctobe 2017.




                                         U •te States Magis ate Judge




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                                            ATTACHMENT A

                           DESCRIPTION OF THE PROPERTY TO BE SEARCHED

        The Subject Premises is located at W9564 Cloverleaf Road, Hortonville, WI. This is a single story
residence with attached garage. The asphalt shingles on the roof appear to be light brown in color and
the building is in the shape of the letter “L.” The central portion of the residence appears to have red
colored siding with the attached portions having cream colored siding. The trim around the doors and
windows is white in color. The driveway leading to the residence is gravel and the front of the residence
is obscured by large trees. Upon approaching the residence from the driveway, the first portion of the
structure is the garage, which has two overhead doors, one being a single door and one being a double
door. On the rear of the residence there is a bay window adjacent to the back door and green colored
deck.




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                                                       •   d0    ~    •




                                                       • ~d3    • ~   —   •




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                                          ATTACHMENT B

                                    LIST OF ITEMS TO BE SEIZED

1. Cell phones, computer(s), computer hardware, computer software, computer related

     documentation, computer passwords and data security devices, videotapes, video recording

     devices, video recording players, and video display monitors that may be, or are used to: visually

     depict child pornography or child erotica; display or access information pertaining to a sexual

     interest in child pornography, display or access information pertaining to sexual activity with

     children; or distribute, possess, or receive child pornography, child erotica, or information

     pertaining to an interest in child pornography or child erotica.

2. Any and all computer software, including programs to run operating systems, applications (such

     as word processing, graphics, or spreadsheet programs), utilities, compilers, interpreters, and

     communications programs.

3. Any and all notes, documents, records, or correspondence, in any format and medium

     (including, but not limited to, envelopes, letters, papers, e-mail messages, chat logs and

     electronic messages, and handwritten notes) pertaining to the possession, receipt, or

     distribution of child pornography as defined in 18 U.S.C 2256(8) or to the possession, receipt, or

     distribution of visual depictions of minors engaged in sexually explicit conduct as defined in 18

     U.S.C. 2256(2).

4.   In any format and medium, all originals, computer files, copies, and negatives of child

     pornography as defined in 18 U.S.C 2256(8), visual depictions of minors engaged in sexually

     explicit conduct as defined in 18 U.S.C 2256(2), or child erotica.

5. Any and all diaries, address books, names, and lists of names and addresses of individuals who

     may have been contacted by the operator of any device by use of the computer or by other

     means for the purpose of distributing or receiving child pornography as defined in 18 U.S.C.




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     2256(8) or visual depictions of minors engaged in sexually explicit conduct as defined in 18   U.S.C
     2256(2).

6. Any and all notes, documents, records, or correspondence, in any format or medium (including,

     but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

     messages, and handwritten notes), identifying persons transmitting, through interstate or

     foreign commerce by any means, including, but not limited to, by the United States Mail or by

     computer, any child pornography as defined in 18 U.S.C. 2256(8) or any visual depictions of

     minors engaged in sexually explicit conduct, as defined in 18 U.S.C. 2256(2).

7.   Any and all notes, documents, records or correspondence, in any format or medium (including,

     but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

     messages, other digital data files and web cache information) concerning the receipt,

     transmission, or possession of child pornography as defined in 18 U.S.C. 2256(8) or visual

     depictions of minors engaged in sexually explicit conduct, as defined in 18 U.S.C. 2256(2).

8. Any and all notes, documents, records, or correspondence, in an format or medium (including,

     but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

     messages, and other digital data files) concerning communications between individuals about

     child pornography or the existence of sites on the Internet that contain child pornography or

     that cater to those with an interest in child pornography.

9. Any and all notes, documents, records, or correspondence, in any format or medium (including,

     but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

     messages, and other digital data files) concerning membership in online groups, clubs, or

     services that provide or make accessible child pornography to members.




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10. Any and all records, documents, invoices and materials, in any format or medium (including, but

    not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic messages,

    and other digital data files) that concern any accounts with an Internet Service Provider.

11. Any and all records, documents, invoices and materials, in any format or medium (including, but

    not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic messages,

    and other digital data files) that concern online storage or other remote computer storage,

    including, but not limited to, software used to access such online storage or remote computer

    storage, user logs or archived data that show connection to such online storage or remote

    computer storage, and user logins and passwords for such online storage or remote computer

    storage.

12. Any and all cameras, film, videotapes or other photographic equipment.

13. Any and all visual depictions of minors.

14. Any and all address books, mailing lists, supplier lists, mailing address labels, and any and all

    documents and records, in any format or medium (including, but not limited to, envelopes,

    letters, papers, e-mail messages, chat logs and electronic messages, and other digital data files),

    pertaining to the preparation, purchase, and acquisition of name so r lists of names to be used

    in connection with the purchase, sale, trade, or transmission, through interstate or foreign

    commerce by any means, including by the United States Mail or by computer, any child

    pornography as defined in 18 U.S.C. 2256(8) or any visual depiction of minors engaged in

    sexually explicit conduct, as defined in 18 U.S.C. 2256(2).

15. Any and all diaries, notebooks, notes, and any other records reflecting personal contact and any

    other activities with minors visually depicted while engaged in sexually explicit conduct, as

    defined in 18 U.S.C. 2256(2).




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16. For any electronic storage device, computer hard drive, electronic device, or other physical

   object which electronic information can be recorded (hereinafter, “electronic storage device”)

   that is called for by this warrant, or that might contain things otherwise called for by this

   warrant:

        a.   Evidence of who used, owned, or controlled the electronic storage device at the time

             the things described in this warrant were created, edited, or deleted, such as logs,

             registry entries, configuration files, saved usernames and passwords, documents,

             browsing history, user profiles, email, email contacts, “chat,” instant messaging logs,

             photographs, and correspondence;

        b.   Evidence of software that would allow others to control the electronic storage device,

             such as viruses, Trojan horses, and other forms of malicious software, as well as

             evidence of the presence or absence of security software designed to detect malicious

             software;

        c.   Evidence of the lack of such malicious software;

        d.   Evidence indicating how and when the electronic storage device was accessed or used

             to determine the chronological context of electronic storage device access, use, and

             events relating to crime under investigation;

        e.   Evidence indicating the electronic storage device user’s location and state of mind as it

             relates to the crime under investigation;

       f.    Evidence of the attachment to the electronic storage device of other storage devices or

             similar containers for electronic evidence;

       g.    Evidence of counter-forensic programs (and associated data) that are designed to

             eliminate data from the electronic storage device;

        h.   Evidence of the times the electronic storage device was used;




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       i.   Passwords, encryption keys, and other access devices that may be necessary to access

            the electronic storage device;

       j.   Documentation and manuals that may be necessary to access the electronic storage

            device or to conduct a forensic examination of the electronic storage device;

       k.   Contextual information necessary to understand the evidence described in this

            attachment.

17. Records and things evidencing communication with the internet, including:

       a.   Routers, modems, and network equipment used to connect electronic storage devices

            to the Internet;

       b.   Records of Internet Protocol addresses used;

       c.   Records of Internet activity, including firewall logs, caches, browser history and cookies,

            “bookmarked” or “favorite” web pages, search terms that the user entered into any

            Internet search engine, and records of user-typed web addresses.

                    As used above, the terms “records” and “information” include all of the

                    foregoing items of evidence in whatever form and by whatever means they may

                    have been created or stored, including any form of electronic storage device or

                    electronic storage; any handmade form (such as writing); any mechanical form

                    (such as printing or typing); and any photographic form.

                               During the execution of the search of the premises described in

                    Attachment A, law enforcement personnel are authorized to press the fingers

                    (including thumbs) of individuals found at the premises to the Touch ID sensor

                    of Apple brand device(s), such as an iPhone or iPad, found at the premises for

                    purpose of attempting to unlock the devices via Touch ID in order to search the

                    contents as authorized by this warrant.




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